Case 1:19-md-02875-RMB-SAK   Document 3057-9   Filed 05/22/25   Page 1 of 7 PageID:
                                   109739




                             Exhibit 7
Case 1:19-md-02875-RMB-SAK            Document 3057-9        Filed 05/22/25     Page 2 of 7 PageID:
                                                                                 EXHIBIT
                                            109740
                                                                               15 XUE 2/3/23 dv


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE

                                                        MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY                         Honorable Robert B. Kugler,
  LITIGATION                                            District Court Judge

                                                        Honorable Karen M. Williams,
                                                        Magistrate Judge

                                                        Honorable Thomas Vanaskie (Ret.),
                                                        Special Discovery Master


                          DECLARATION OF SETH A. GOLDBERG

         I, Seth A. Goldberg, of full age, hereby declare as follows:

         1.      I am an attorney at law of the State of New Jersey, a member of good standing of

  the bar of this Court, a Partner with the law firm of Duane Morris LLP, and counsel to

  Defendants Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”), Prinston Pharmaceutical Inc.

  (“Prinston”), Solco Healthcare U.S. (“Solco”), and Huahai U.S. Inc. (“Huahai U.S.”, and

  collectively with ZHP, Prinston, and Solco, “the ZHP Parties”).

         2.      I make this Declaration based on personal knowledge and in support of the ZHP

  Parties’ Cross Motion for Protective Order to Preclude the Production of the Custodial File of

  Baohua Chen.

         3.      A true and correct copy of the final transcript of Jucai Ge’s deposition testimony

  on April 30, 2021 is attached to this Declaration as Exhibit A.

         4.      A true and correct copy of the final transcript of Lihong (Linda) Lin’s deposition

  testimony on May 4, 2021 is attached to this Declaration as Exhibit B.
Case 1:19-md-02875-RMB-SAK             Document 3057-9         Filed 05/22/25      Page 3 of 7 PageID:
                                             109741



         5.      A true and correct copy of the final transcript of Min Li’s deposition testimony on

  April 22, 2021 is attached to this Declaration as Exhibit C.

         6.      A true and correct copy of the final transcript of Eric Gu’s deposition testimony

  on April 5, 2021 is attached to this Declaration as Exhibit D.

         7.      A true and correct copy of the final transcript of Hai Wang’s deposition testimony

  on March 11, 2021 is attached to this Declaration as Exhibit E.

         8.      A true and correct copy of the final transcript of John Iozzia’s deposition

  testimony on January 20, 2021 is attached to this Declaration as Exhibit F.

         9.      Attached to this Declaration as Exhibit G is a table listing the titles held by

  Baohua Chen in various public bodies.

         10.     Attached to this Declaration as Exhibit H is an index cataloging the volumes of

  the ZHP Parties’ productions to date in this litigation.

         11.     Attached to this Declaration as Exhibit I is a list of the custodial files collected in

  connection with the ZHP Parties’ productions in this litigation.

         12.     Attached to this Declaration as Exhibit J is a table illustrating the references to

  Baohua Chen in the exhibits introduced at the depositions of the ZHP Parties witnesses.

         13.     A true and correct copy of an English language translation of an e-mail dated July

  27, 2017, authored by ZHP employee Jinsheng Lin (ZHP00190573) is attached to this

  Declaration as Exhibit K.

         14.     A true and correct copy of an e-mail dated April 23, 2021 from Plaintiffs’ counsel

  to counsel for the ZHP Parties is attached to this Declaration as Exhibit L.

         15.     A true and correct copy of a declaration executed by Linhong (Linda) Lin, the

  Director of Regulatory Affairs of ZHP, is attached to this Declaration as Exhibit M.



                                                    2
Case 1:19-md-02875-RMB-SAK             Document 3057-9       Filed 05/22/25      Page 4 of 7 PageID:
                                             109742



          16.      A true and correct copy of a declaration executed by Yang Xueyu, a partner of Yu

  Zheng Law Firm, is attached to this Declaration as Exhibit N.

          17.      Attached to this Declaration as Exhibit O is a table comparing the volume of

  correspondence including Baohua Chen to the total production volume of the ZHP Parties to date

  in this litigation.



  Executed on May 14, 2021.


                                                       Respectfully submitted,

                                                       /s/ Seth A. Goldberg
                                                               Seth A. Goldberg, Esq.
                                                               Lead Counsel and Liaison
                                                               Counsel for Defendants

                                                       DUANE MORRIS LLP

                                                       Seth A. Goldberg, Lead Counsel and
                                                       Liaison Counsel for Defendants
                                                       30 South 17th Street
                                                       Philadelphia, Pennsylvania 19103
                                                       Tel.: (215) 979-1000
                                                       Fax: (215) 979-1020
                                                       SAGoldberg@duanemorris.com

                                                              Attorneys for Zhejiang Huahai
                                                              Pharmaceutical Co, Ltd., Prinston
                                                              Pharmaceutical Inc., and Solco
                                                              Healthcare US, LLC




                                                   3
Case 1:19-md-02875-RMB-SAK   Document 3057-9   Filed 05/22/25   Page 5 of 7 PageID:
                                   109743




                  EXHIBIT K
Case 1:19-md-02875-RMB-SAK           Document 3057-9          Filed 05/22/25       Page 6 of 7 PageID:
                                           109744


     Bulletin on the preliminary findings about produced unknown impurities in quenching
     sodium azide for the crude irbesartan
      Lin Jinsheng                                 July 27, 2017, 4:17 PM Detailed information
      To: Ge Jucai, Huang Tianpei, Chen Wangwei, Zhu Wenquan, Chen Wenbin, Li Zong,
      Dong Peng, Lin Lihong, Liu Yanfeng, Wang Peng, Zhang Wenling
      [icon] Valsartan Impurities K.pdf (846 KB)

      General Manager Ge:
      According to the results in our telephone communication with the Chuannan (Southern
      Sichuan)-Technical Department I today, because the separate treatment of sodium azide
      wastewater of irbesartan resulted in incomplete quenching of sodium azide, resulting in
      frequent depressed blast in the production process, thus, the technical department carried
      out technical transformation to quench sodium azide in the no stratification process of the
      crude irbesartan process, however, after the transformation, 0.544% of unknown impurities
      are produced in the crude irbesartan at 26 min, and it is the biggest impurity in the crude
      irbesartan..




      RESTRICTED CONFIDENTIAL INFORMATION                                   ZHP00190573
Case 1:19-md-02875-RMB-SAK             Document 3057-9          Filed 05/22/25       Page 7 of 7 PageID:
                                             109745




      Through the secondary mass spectrometry analysis, it can be inferred that the additional
      NO substituent is in the cyclic compound fragment part, and it is probably that it is the N-
      NO compound, similar to the N- nitrosodimethylamine group produced by the quenching
      of valsartan with sodium nitrite, its structure is very toxic, and its possible production
      pathways are as follows:




      In order to further confirm the structure of the impurity and the principle of its generation,
      we plan to simulate the quenching conditions to react NaNO2 and HCI with the finished
      product of irbesartan, to monitor the impurities produced by the reaction, and then separate
      them for NMR for final structural confirmation, simultaneously, carry out the confirmation
      of impurity by multi-stage mass spectrometry.

      If it is confirmed as the above speculated structure, its toxicity will be very strong, and
      GMP risk is great. This is a common problem in the production and synthesis of sartan
      API. It is recommended to improve to other quenching method, such as NaCIO, in addition
      to optimize the quenching process for sodium azide in valsartan.

      Attached is a patent method for quenching sodium azide with NaCIO by Xinsaike
      Pharmaceutical in 2013. they proposed that the use of NaNO2 quenching will produce N-
      NO impurities, in the meanwhile, our Huahai crude valsartan was detected by LC-MS. The
      impurity was indeed found, indicating that other companies have paid attention to this
      quality issue a long time ago. Leaders are also requested to pay attention to it.



      Lin Jinsheng
      CEMAT
      July 27, 2017


     RESTRICTED CONFIDENTIAL INFORMATION                                     ZHP00190574
